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                   Thomas-Jensen
                    Affirmation



                     Exhibit # 117
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



  STATE OF NEW YORK; et al.,

                 Plaintiffs,
                                                            C.A. No. 1:25-cv-00039-JJM-PAS
          v.
                                                            DECLARATION OF THOMAS J.
  DONALD TRUMP, in his official capacity as                 KELLY
  President of the United States; et al.,

                 Defendants.


                                  Declaration of Thomas J. Kelly
                I, Thomas J. Kelly, declare as follows:

        1.      I am a resident of the State of Washington. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I am currently employed by the Washington Office of Superintendent of Public

 Instruction (OSPI) as the Chief Financial Officer, and have been for the last eight years.

        3.      OSPI is responsible for the supervision of public K-12 education in Washington

 State. We oversee 295 public school districts, 16 public charter schools, and 7 state-tribal education

 compact schools. OSPI allocates funding and provides tools, resources, and technical assistance to

 school districts and families across Washington State. This includes students younger than five

 years old, such as Transition to Kindergarten (TK) students, as well as preschool students who are

 impacted by Individuals with Disabilities Act (IDEA) federal funding.

        4.      As the Chief Financial Officer, I oversee the Financial Resources department of

 OSPI, which provides vital information, fiscal services and policy support that OSPI needs to serve

 the children of Washington State. Financial Resources plays a central role in budget planning,



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 policy development, and fiscal administration for OSPI. My job duties include overseeing OSPI’s

 school apportionment division, capital division, student transportation division, internal financial

 services office, and audit resolution team. My job duties also include overseeing OSPI’s audit

 resolution processes.

        5.      As Chief Financial Officer for OSPI, I have knowledge of how OSPI receives

 funding from both the state and federal governments and how those funds are used and distributed

 in providing public education.

        6.      I am aware of the January 27, 2025, memorandum from Office of Management and

 Budget Acting Director Matthew J. Vaeth regarding a “Temporary Pause of Agency Grant, Loan,

 and Other Financial Assistance Programs.” This memorandum directed all federal agencies to,

 among other things, “temporarily pause all activities related to obligation or disbursement of all

 Federal financial assistance” for an undisclosed amount of time.

        7.      Even though the Vaeth memo was purportedly rescinded, it is at best unclear

 whether federal authorities have abandoned the strategy and policy objectives described in the

 memorandum. Nor is it clear whether federal authorities will refrain from a similar pause in federal

 funding in the future.

        8.      If such a pause went into effect, it would have a devastating effect on K-12 public

 education system for the State of Washington, its operations, and its residents.

        9.      OSPI regularly reports its State Expenditure of Federal Awards (“SEFA”). The

 SEFA report includes all federal funds that Washington State receives in a given fiscal year.

        10.      For the most recent 2023-2024 school year (FY2024), running from September 1,

 2023, to August 31, 2024, school districts received over $1.4 billion in federal funding. This

 comprised approximately 6% of school district revenue for that school year. School districts report

 federal aid claimed through over 70 distinct funding streams. These programs serve some of our

 most vulnerable students. If “federal financial assistance,” as defined under 2 C.F.R. 200.1, is

 withheld, it puts a number of programs at risk, including:

                a.        National School Lunch Program, which amounted to over $361 million in


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         FY2024 SEFA. This revenue reimburses school districts for student meals served under a

         variety of school meals programs offered through the federal government. Public school

         districts, private schools, residential childcare institutions, and charter schools may

         participate in school meal programs;1

                 b.     Title I Education Grants, which amounted to over $310 million in FY2024

         SEFA. Title I funds instructional help to children whose academic performance is below

         average, based on a formula that targets funding to schools and districts with higher

         percentages of students in poverty;2 and

                 c.     Special Education Grants, which amounted to over $275 million in FY2024

         SEFA. This program serves to meet the excess costs of providing special education and

         related services to children with disabilities, including support and direct services, technical

         assistance and personnel preparation, assisting schools in providing positive behavioral

         interventions and supports, and improving the use of assistive technology in the

         classroom.3

         11.     In the next approximately 20 months (through September 30, 2026), Washington

 State is scheduled to receive access to approximately $750 million under our current federal grants.

 These funds include Title I Basic and IDEA-B, 611 Special Education disbursements.

         12.     We continue to be concerned that the funding will be delayed or denied given the

 apparent intent of the federal government to continue carrying out a funding freeze. Thus, OSPI

 cannot rest assured that a future funding freeze will not occur, nor that any such freeze would be

 temporary.

         13.     If federal funds are again suddenly withheld or delayed, even temporarily, the State

 of Washington and Washington public schools simply do not have funds to cover all of these


 1
   https://ospi.k12.wa.us/policy-funding/child-nutrition/school-meals/national-school-lunch-program
 2
   https://ofm.wa.gov/budget/agency-activities-and-performance/agency-
 activities/350#:~:text=The%20state%20Learning%20Assistance%20Program,learning%20needs%20in%20the%20d
 istrict.
 3
   https://www.ed.gov/grants-and-programs/formula-grants/formula-grants-special-populations/special-education-
 grants-to-states


                                                      3
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 critical programs that are currently funded through federal dollars. And Washington most certainly

 does not have the funds to backfill federal dollars while continuing to pay for all of the many state-

 funded programs on which its youngest residents rely. Thus, pausing or terminating federal funds

 would necessarily entail cuts—likely drastic cuts—to the education services provided by the

 Washington K-12 public school system, which includes OSPI and local education agencies.

           14.     This threat to federal funding comes at a precarious time for Washington. Our state

 is one of several states facing a budget shortfall. Washington is facing a forecasted budget deficit

 of more than $12 billion over the next four years.

           15.     It is also a challenging time for the funding of Washington public schools. Several

 public-school districts are already under financial oversight from OSPI, a process that occurs when

 a school district is unable to produce a balanced budget and must request assistance from OSPI to

 come into financial compliance, and to that end must agree to meet certain financial benchmarks.4

           16.     Any attempt to withhold additional billions of dollars in federal funding, even

 temporarily, would interfere with critical state education programs, impact delivery of services to

 Washington K-12 students, negatively impact already challenging school district budgets,

 significantly worsen Washington’s budget shortfall, and make it nearly impossible for state

 agencies to prioritize budgeting needs.

          I declare under penalty of perjury that the foregoing is true and correct.

                   Executed on February 5, 2025, at Olympia, Washington.



                                                             THOMAS J. KELLY
                                                             Chief Financial Officer
                                                             Washington Office of Superintendent of
                                                             Public Instruction




 4
     See Washington Administrative Code (WAC) 392-123-060.


                                                      4
